          Case 5:16-cv-00121-gwc Document 45 Filed 11/17/17 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                                DISTRICT OF VERMONT


JONATHAN A. BLOOM,                                )
                                                  )
                              Plaintiff,          )
                                                  )
       v.                                         )          Civil No. 5:16-cv-121
                                                  )
ERIC D. HARGAN,1                                  )
Acting Secretary of the U.S. Department of Health )
and Social Services,                              )
                                                  )
                              Defendant.          )


          REPLY REGARDING NOTICE OF SUPPLEMENTAL AUTHORITY

       Dr. Bloom, by and through counsel, briefly replies to the Secretary’s Response to

Plaintiff’s Notice of Supplemental Authority. Respectfully, Dr. Bloom did not understand that a

notice of supplemental authority would be the trigger for the Secretary to engage in additional

briefing on the pending motions. Dr. Bloom disagrees with the Secretary’s most recent claim

that a continuous glucose monitor (“CGM”) is not “primarily and customarily used for a medical

purpose.” There is no evidence in the Record that a CGM serves any other use, and the only

evidence in the Record is that a CGM is primarily and customarily used for the medical purpose

of monitoring glucose levels to control diabetes. If the Court desires additional briefing on this

issue, Dr. Bloom is ready to provide it.

       The Secretary used the Notice of Supplemental Authority as an opportunity to make the

new claim that, even if a CGM is determined to be durable medical equipment, this case must be

remanded for the Secretary to determine whether a CGM is “reasonable and medically


1
 Pursuant to FED.R.CIV.P. 25(d), Mr. Hargan, acting in his official capacity, has been substituted
as the named defendant.
          Case 5:16-cv-00121-gwc Document 45 Filed 11/17/17 Page 2 of 4



necessary” for Dr. Bloom or whether coverage will be denied on that ground, specifically with

respect to M-15-4332. That is incorrect. As alluded to by the Secretary, a favorable “reasonable

and medically necessary” determination was made by ALJ Engelman in M-15-1505 and that

decision was not disturbed by the Medicare Appeals Council. So, there would be no basis for

remanding that matter. Further, assuming that ALJ Engelman’s “reasonable and medically

necessary” determination in M-15-1505 is not reversed, then principles of collateral estoppel

would bar the Secretary from relitigating that issue in M-15-4332 and M-16-10554. See Astoria

Federal Savings & Loan Assoc. v. Solomino, 501 U.S. 104, 108 (1991) (“[Issue preclusion] holds

true when a court has resolved an issue, and should do so equally when the issue has been

decided by an administrative agency, be it state or federal, which acts in a judicial capacity”

(internal citation omitted).

       In any event, whether a CGM is “reasonable and medically necessary” for Dr. Bloom was

placed at issue by the Amended Complaint in this case (Doc. No. 21 at ¶¶ 115, 116, 119, 124,

125, 131, 136), was disputed in the Answer (Doc. No. 26), and forms part of the causes of action

seeking coverage (Counts I-IV) and the Requested Relief (see, e.g., ¶ 3 “reasonable and

medically necessary”). Moreover, the Record is replete with the relevant evidence (e.g.,

testimony from doctors, Dr. Bloom himself, and other ALJ determinations) some of which was

referred to in this Court’s prior decision rejecting the Secretary’s request for remand. See Doc.

No. 20 at 2-3. Accordingly, the time for disputing whether a CGM is “reasonable and medically

necessary” for Dr. Bloom is this litigation, and the Secretary’s request for remand to serially

litigate every potential basis for denial should be rejected.




                                                  2
  Case 5:16-cv-00121-gwc Document 45 Filed 11/17/17 Page 3 of 4



Dated at Burlington, Vermont this 17th day of November, 2017.

                                           JONATHAN A. BLOOM


                                   By:     /s/ Debra M. Parrish
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                                      3
          Case 5:16-cv-00121-gwc Document 45 Filed 11/17/17 Page 4 of 4



                                CERTIFICATE OF SERVICE

       I, Craig S. Nolan, counsel for Jonathan A. Bloom, do hereby certify that on November

17, 2017, I electronically filed with the Clerk of Court the following document:

          REPLY REGARDING NOTICE OF SUPPLEMENTAL AUTHORITY

using the CM/ECF system. The CM/ECF system will provide service of such filing via Notice

of Electronic Filing (NEF) to the following NEF parties:

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       Dated at Burlington, Vermont this 17th day of November, 2017.



                                     By:     /s/ Craig S. Nolan
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